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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 1:23-CV-23933-FAM


  SUCESIÓN SIMON DIAZ MARQUEZ,

         Plaintiff,
  v.


  MIAMI FINE FOODS, LLC and AVI ASSOR,
         Defendants.
                                               /
                      DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
                           AND COUNTERCLAIM TO COMPLAINT

         Defendants Miami Fine Foods, LLC and Avi Assor (collectively, “Defendants”), by and

  through undersigned counsel, hereby files their Answer, Affirmative Defenses, and Counterclaims

  to the Complaint (Doc. No. 1), filed by Plaintiff Sucesión Simon Diaz Marquez (“Plaintiff”).

                                           Nature of the Action

         1.      Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 1 of the Complaint and therefore deny same.

         2.      Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 2 of the Complaint and therefore deny same.

         3.      Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 3 of the Complaint and therefore deny same.

         4.      Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 4 of the Complaint and therefore deny same.

         5.      Defendants are without knowledge or information sufficient to form a belief as to
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  the truth of the allegations of Paragraph 5 of the Complaint and therefore deny same.

         6.      Defendants admit that Plaintiff purports to set forth a cause of action for trademark

  infringement under Section 43(a) of the Lanham Act, false association, false designation of origin,

  trademark infringement under Section 495, Florida Statutes, and for other common law claims and

  causes of action. Defendants deny the remaining allegations of Paragraph 6 of the Complaint.

                                             The Parties

         7.      Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 7 of the Complaint and therefore deny same.

         8.      Defendants admit the allegations in Paragraph 8 of the Complaint.

         9.      Defendants admit the allegations in Paragraph 9 of the Complaint.

         10.     Defendants admit that Mr. Assor is the President of Miami Fine Foods, LLC.

  Defendants deny the remaining allegations of Paragraph 10 of the Complaint.

                                      Jurisdiction and Venue

         11.     Defendants admit the allegations in Paragraph 11 of the Complaint.

         12.     Defendants admit that that the Court has personal jurisdiction over them, but deny

  the remaining allegations of Paragraph 12 of the Complaint.

         13.     Defendants admit the allegations in Paragraph 13 of the Complaint.

                                   Facts Common to All Counts

         14.     Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 14 of the Complaint and therefore deny same.

         15.     Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 15 of the Complaint and therefore deny same.

         16.     Defendants are without knowledge or information sufficient to form a belief as to




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  the truth of the allegations of Paragraph 16 of the Complaint and therefore deny same.

         17.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 17 of the Complaint and therefore deny same.

         18.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 18 of the Complaint and therefore deny same.

         19.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 19 of the Complaint and therefore deny same.

         20.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 20 of the Complaint and therefore deny same.

         21.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 21 of the Complaint and therefore deny same.

         22.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 22 of the Complaint and therefore deny same.

         23.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 23 of the Complaint and therefore deny same.

         24.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 24 of the Complaint and therefore deny same.

         25.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 25 of the Complaint and therefore deny same.

         26.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 26 of the Complaint and therefore deny same.

         27.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 27 of the Complaint and therefore deny same.




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         28.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 28 of the Complaint and therefore deny same.

         29.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 29 of the Complaint and therefore deny same.

         30.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 30 of the Complaint and therefore deny same.

         31.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 31 of the Complaint and therefore deny same.

         32.    Defendants admit the allegations in Paragraph 32 of the Complaint.

         33.    Defendants admit that they have no connection to Plaintiff and do not require

  endorsement or consent to use or register Defendants’ trademark.

         34.    Defendants deny the allegations in Paragraph 34 of the Complaint.

         35.    Defendants deny the allegations in Paragraph 35 of the Complaint.

         36.    Defendants deny the allegations in Paragraph 36 of the Complaint.

         37.    Defendants deny the allegations in Paragraph 37 of the Complaint.

         38.    Defendants deny the allegations in Paragraph 38 of the Complaint.

         39.    Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 39 of the Complaint and therefore deny same.

         40.    Defendants deny the allegations in Paragraph 40 of the Complaint.

         41.    Defendants deny the allegations in Paragraph 41 of the Complaint.

         42.    Defendants admit that that the goods of Application Serial No. 97/030,729 include

  certain traditional Venezuelan foods, but deny the remaining allegations of Paragraph 42 of the

  Complaint.




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         43.     Defendants deny the allegations in Paragraph 43 of the Complaint.

         44.     Defendants admit that that the website located at tiosimonfoods.com includes the

  wording “irresistible products ready to share and enjoy the Venezuelan tradition,” but deny the

  remaining allegations of Paragraph 44 of the Complaint.

         45.     Defendants admit that a copy of Miami Fine Foods’ logo design appears below

  Paragraph 45, but deny the remaining allegations of Paragraph 45 of the Complaint.

         46.     Defendants deny the allegations in Paragraph 46 of the Complaint.

         47.     Defendants deny the allegations in Paragraph 47 of the Complaint.

         48.     Defendants admit that they operate in the state of Florida, but deny the remaining

  allegations of Paragraph 48 of the Complaint.

         49.     Defendants admit that none of the goods offered by Defendant originate from

  Plaintiff and that they do not require authorization from Plaintiff.

         50.     Defendants admit they are not using any purported right of publicity or persona

  rights allegedly held by Plaintiff.

         51.     Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 51 of the Complaint and therefore deny same.

         52.     Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 52 of the Complaint and therefore deny same.

         53.     Defendants deny the allegations in Paragraph 53 of the Complaint.

         54.     Defendants deny the allegations in Paragraph 54 of the Complaint.

         55.     Defendants deny the allegations in Paragraph 55 of the Complaint.

         56.     Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 56 of the Complaint and therefore deny same.




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        57.    Defendants deny the allegations in Paragraph 57 of the Complaint.

        58.    Defendants admit the allegations in Paragraph 58 of the Complaint.

        59.    Defendants admit the allegations in Paragraph 59 of the Complaint.

        60.    Defendants deny that they are engaged in any infringing and unlawful activity.

                              FIRST CAUSE OF ACTION
                      (Trademark Infringement Under Common Law)

        61.    Defendants deny the allegations in Paragraph 61 of the Complaint.

        62.    Defendants deny the allegations in Paragraph 62 of the Complaint.

        63.    Defendants deny the allegations in Paragraph 63 of the Complaint.

        64.    Defendants deny the allegations in Paragraph 64 of the Complaint.

        65.    Defendants deny the allegations in Paragraph 65 of the Complaint.

        66.    Defendants deny the allegations in Paragraph 66 of the Complaint.

        67.    Defendants deny the allegations in Paragraph 67 of the Complaint.

                               SECOND CAUSE OF ACTION
   (Infringement of Unregistered Marks Pursuant to Section 43(a)(1)(A) of the Lanham Act)

        68.    Defendants deny the allegations in Paragraph 68 of the Complaint.

        69.    Defendants deny the allegations in Paragraph 69 of the Complaint.

        70.    Defendants deny the allegations in Paragraph 70 of the Complaint.

        71.    Defendants deny the allegations in Paragraph 71 of the Complaint.

        72.    Defendants deny the allegations in Paragraph 72 of the Complaint.

        73.    Defendants deny the allegations in Paragraph 73 of the Complaint.

        74.    Defendants deny the allegations in Paragraph 74 of the Complaint.

                                THIRD CAUSE OF ACTION
               (False Association Pursuant to Section 43(a) of the Lanham Act)

        75.    Defendants are without knowledge or information sufficient to form a belief as to



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  the truth of the allegations of Paragraph 75 of the Complaint and therefore deny same.

         76.    Defendants admit that the wording TIO SIMON is identical in appearance.

         77.    Defendants deny the allegations in Paragraph 77 of the Complaint.

         78.    Defendants deny the allegations in Paragraph 78 of the Complaint.

         79.    Defendants deny the allegations in Paragraph 79 of the Complaint.

         80.    Defendants deny the allegations in Paragraph 80 of the Complaint.

         81.    Defendants deny the allegations in Paragraph 81 of the Complaint.

         82.    Defendants deny the allegations in Paragraph 82 of the Complaint.

                              FOURTH CAUSE OF ACTION
           (Deceptive and Unfair Trade Practices Act Pursuant to Fla. Stat. 501.201)

         83.    Defendants deny the allegations in Paragraph 83 of the Complaint.

         84.    Defendants deny the allegations in Paragraph 84 of the Complaint.

         85.    Defendants deny the allegations in Paragraph 85 of the Complaint.

         86.    Defendants deny the allegations in Paragraph 86 of the Complaint.

         87.    Defendants deny the allegations in Paragraph 87 of the Complaint.

         88.    Defendants deny the allegations in Paragraph 88 of the Complaint.

                                  FIFTH CAUSE OF ACTION
                                          (Fraud)

         89.    Defendants deny the allegations in Paragraph 89 of the Complaint.

         90.    Defendants deny the allegations in Paragraph 90 of the Complaint.

         91.    Defendants deny the allegations in Paragraph 91 of the Complaint.

         92.    Defendants deny the allegations in Paragraph 92 of the Complaint.

         93.    Defendants deny the allegations in Paragraph 93 of the Complaint.

         94.    Defendants admit the allegations in Paragraph 94 of the Complaint.




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         95.    Defendants admit the allegations in Paragraph 95 of the Complaint.

         96.    Defendants admit the allegations in Paragraph 96 of the Complaint.

         97.    Defendants admit the allegations in Paragraph 97 of the Complaint.

         98.    Defendants deny the allegations in Paragraph 98 of the Complaint.

         99.    Defendants deny the allegations in Paragraph 99 of the Complaint.

         100.   Defendants deny the allegations in Paragraph 100 of the Complaint.

         101.   Defendants deny the allegations in Paragraph 101 of the Complaint.

         102.   Defendants deny the allegations in Paragraph 102 of the Complaint.

         103.   Defendants deny the allegations in Paragraph 103 of the Complaint.

         104.   Defendants deny the allegations in Paragraph 104 of the Complaint.

         105.   Defendants deny the allegations in Paragraph 105 of the Complaint.

         106.   Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 106 of the Complaint and therefore deny same.

         107.   Defendants deny the allegations in Paragraph 107 of the Complaint.

         108.   Defendants deny the allegations in Paragraph 108 of the Complaint.

         109.   Defendants deny the allegations in Paragraph 109 of the Complaint.

                                 SIXTH CAUSE OF ACTION
                     (Right of Publicity Pursuant to Fla. Stat. Ann. 540.08)

         110.   Defendants deny the allegations in Paragraph 110 of the Complaint.

         111.   Defendants admit that the wording TIO SIMON is identical in appearance.

         112.   Defendants admit that they do not require authorization or consent to use

  Defendants’ trademark.

         113.   Defendants deny the allegations in Paragraph 113 of the Complaint.

         114.   Defendants admit that they do not require authorization or consent to use



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  Defendants’ trademark.

         115.   Defendants deny the allegations in Paragraph 115 of the Complaint.

         116.   Defendants deny the allegations in Paragraph 116 of the Complaint.

                                SEVENTH CAUSE OF ACTION
                        (Right of Publicity Under Florida Common Law)

         117.   Defendants deny the allegations in Paragraph 117 of the Complaint.

         118.   Defendants admit that the wording TIO SIMON is identical in appearance.

         119.   Defendants admit that they do not require authorization or consent to use

  Defendants’ trademark.

         120.   Defendants deny the allegations in Paragraph 120 of the Complaint.

         121.   Defendants admit that they do not require authorization or consent to use

  Defendants’ trademark.

         122.   Defendants deny the allegations in Paragraph 122 of the Complaint.

         123.   Defendants deny the allegations in Paragraph 123 of the Complaint.

                                EIGHTH CAUSE OF ACTION
                       (False Endorsement Pursuant to 15 U.S.C. 1125(a))

         124.   Defendants are without knowledge or information sufficient to form a belief as to

  the truth of the allegations of Paragraph 124 of the Complaint and therefore deny same.

         125.   Defendants deny the allegations in Paragraph 125 of the Complaint.

         126.   Defendants deny the allegations in Paragraph 126 of the Complaint.

         127.   Defendants deny the allegations in Paragraph 127 of the Complaint.

         128.   Defendants deny the allegations in Paragraph 128 of the Complaint.

         129.   Defendants deny the allegations in Paragraph 129 of the Complaint.

         130.   Defendants deny the allegations in Paragraph 130 of the Complaint.




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                                NINTH CAUSE OF ACTION
                      (Unfair Competition Pursuant to 15 U.S.C. 1125(a))

         131.   Defendants deny the allegations in Paragraph 131 of the Complaint.

         132.   Defendants deny the allegations in Paragraph 132 of the Complaint.

         133.   Defendants deny the allegations in Paragraph 133 of the Complaint.

         134.   Defendants deny the allegations in Paragraph 134 of the Complaint.

         135.   Defendants deny the allegations in Paragraph 135 of the Complaint.

         136.   Defendants deny the allegations in Paragraph 136 of the Complaint.

         137.   Defendants deny the allegations in Paragraph 137 of the Complaint.

                               TENTH CAUSE OF ACTION
                      (Unfair Competition Under Florida Common Law)

         138.   Defendants deny the allegations in Paragraph 138 of the Complaint.

         139.   Defendants deny the allegations in Paragraph 139 of the Complaint.

         140.   Defendants deny the allegations in Paragraph 140 of the Complaint.

         141.   Defendants deny the allegations in Paragraph 141 of the Complaint.

         142.   Defendants deny the allegations in Paragraph 142 of the Complaint.

         143.   Defendants deny the allegations in Paragraph 143 of the Complaint.

         144.   Defendants deny the allegations in Paragraph 144 of the Complaint.

         145.   Defendants deny the allegations in Paragraph 145 of the Complaint.

                              ELEVENTH CAUSE OF ACTION
                      (Unfair Competition Under Florida Common Law)

         146.   Defendants deny the allegations in Paragraph 146 of the Complaint.

         147.   Defendants deny the allegations in Paragraph 147 of the Complaint.

         148.   Defendants deny the allegations in Paragraph 148 of the Complaint.

         149.   Defendants deny the allegations in Paragraph 149 of the Complaint.



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          150.   Defendants deny the allegations in Paragraph 150 of the Complaint.

          151.   Defendants deny the allegations in Paragraph 151 of the Complaint.

                              TWELFTH CAUSE OF ACTION
                    (Trademark Dilution Pursuant to Fla. Stat. Ann. 495.151)

          152.   Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations of Paragraph 152 of the Complaint and therefore deny same.

          153.   Defendants deny the allegations in Paragraph 153 of the Complaint.

          154.   Defendants deny the allegations in Paragraph 154 of the Complaint.

          155.   Defendants deny the allegations in Paragraph 155 of the Complaint.

          156.   Defendants deny the allegations in Paragraph 156 of the Complaint.

                             THIRTEENTH CAUSE OF ACTION
                  (False Suggestion of a Connection Pursuant to 15 U.S.C. 1052)

          157.   Defendants deny the allegations in Paragraph 157 of the Complaint.

          158.   Defendants deny the allegations in Paragraph 158 of the Complaint.

          159.   Defendants admit that the wording TIO SIMON is identical in appearance.

          160.   Defendants deny the allegations in Paragraph 160 of the Complaint.

          161.   Defendants deny the allegations in Paragraph 161 of the Complaint.

          162.   Defendants admit that that the goods of Application Serial No. 97/030,729 include

   certain traditional Venezuelan foods, but deny the remaining allegations of Paragraph 162 of the

   Complaint.

          163.   Defendants admit that that the website located at tiosimonfoods.com includes the

   wording “irresistible products ready to share and enjoy the Venezuelan tradition,” but deny the

   remaining allegations of Paragraph 163 of the Complaint.

          164.   Defendants admit that they do not require authorization from Plaintiff to use their




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   trademark. Defendants deny the remaining allegations of Paragraph 164 of the Complaint.

          165.    Defendants deny the allegations in Paragraph 165 of the Complaint.

          166.    Defendants deny the allegations in Paragraph 166 of the Complaint.

          167.    Defendants deny the allegations in Paragraph 167 of the Complaint.

          168.    Defendants deny the allegations in Paragraph 168 of the Complaint.

          169.    Defendants deny the allegations in Paragraph 169 of the Complaint.

          170.    Defendants deny the allegations in Paragraph 170 of the Complaint.

          171.    Defendants deny the allegations in Paragraph 171 of the Complaint.

          172.    Defendants deny the allegations in Paragraph 172 of the Complaint.

          173.    Defendants deny the allegations in Paragraph 173 of the Complaint.

          174.    Defendants deny the allegations in Paragraph 174 of the Complaint.

                                          PRAYER FOR RELIEF

          WHEREFORE, Defendants pray that this Court enter judgment in its favor on all claims

   alleged in the Complaint, find that this is an exceptional case, pursuant to 15 U.S.C. § 1117(a),

   entitling Defendants to reimbursement of their reasonable attorney fees and costs, and grant

   Defendants such further relief as the Court deems appropriate.

                        FURTHER ANSWER AND AFFIRMATIVE DEFENSES
          By way of further Answer and as affirmative defenses, Defendants deny that they are liable

   to Plaintiff on any of the claims alleged and deny that Plaintiff is entitled to damages, treble or

   punitive damages, equitable relief, attorneys’ fees, costs, pre-judgment interest or to any relief

   whatsoever, and states as follows:

                                          First Affirmative Defense

          As a first, separate and distinct affirmative defense, Defendants assert that the Complaint,



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   on one more counts as set forth therein, is barred as Plaintiff has failed to properly plead the proper

   elements upon which relief can be granted.

                                           Second Affirmative Defense

          As a second, separate and distinct affirmative defense, Defendants assert that the

   Complaint, on one more counts as set forth therein, is barred because Plaintiff does not have any

   protectable rights in the phrase “TIO SIMON” and therefore cannot state a claim upon which relief

   can be granted.

                                           Third Affirmative Defense

          As a third, separate and distinct affirmative defense, Defendants assert that the Complaint,

   on one more counts as set forth therein, is barred because Plaintiff lacks priority to the phrase “TIO

   SIMON” in the United States.

                                           Fourth Affirmative Defense

          As a fourth, separate and distinct affirmative defense, Defendants assert that the Complaint,

   on one more counts as set forth therein, is barred by laches because Plaintiff had prior knowledge

   of Defendants’ use of the mark TIO SIMON and failed to object to this usage and unreasonably

   delayed in bringing suit.

                                            Fifth Affirmative Defense

          As a sixth, separate and distinct affirmative defense, Defendants assert asserts that the

   Complaint, on one more counts as set forth therein, is barred by estoppel because Plaintiff’s delay

   in bringing suit against Defendants caused and is causing prejudice to Defendants.

                                            Sixth Affirmative Defense

          As a seventh, separate and distinct affirmative defense, Defendants assert that the

   Complaint, on one more counts as set forth therein, is barred by acquiescence because Miami Fine


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   Foods has openly used the mark TIO SIMON since at least as early as 2016 without objection from

   Plaintiff. Specifically, Plaintiff contacted Defendants in or about 2018 and then again in January

   2022, requesting that Defendants cease use of the TIO SIMON mark. After Defendants declined

   to do so, Plaintiff took no further action until sending Defendants correspondence in March 2022.

   Defendants relied on Plaintiff’s silence for years and continued to use the trademark at issue, built

   its business and goodwill in the mark and, during that time, Plaintiff never objected

                                          Seventh Affirmative Defense

          As a seventh, separate and distinct affirmative defense, Defendants assert that that even

   assuming infringement, unfair competition or any other allegedly improper activity is proven by

   Plaintiff, which Defendants expressly deny, Plaintiff cannot establish that it has suffered or will

   suffer damages.

                                          Eighth Affirmative Defense

          As an eighth, separate and distinct affirmative defense, Defendants assert, without

   admitting that the Complaint states a claim, that any remedies are limited to the extent that there

   is sought an overlapping or duplicative recovery pursuant to the various claims against Defendants

   for any alleged single wrong.

                         COUNTERCLAIM AND THIRD-PARTY COMPLAINT

          Defendant/Counterclaim-Plaintiff Miami Fine Foods, LLC (“MFF”), by and through

   undersigned counsel, hereby asserts its Counterclaim and Third-Party Complaint against

   Plaintiff/Counterclaim-Defendants Sucesión Simon Diaz Marquez (the “Estate”) and Bettsymar

   Díaz (“Diaz”)(collectively, “SSDM”), as follows:

                                                   PARTIES

          1.      Miami Fine Foods, LLC is a limited liability company organized and existing under


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   the laws of the State of Florida with its principal place of business of in North Miami Beach,

   Florida.

          2.      On information and belief, the Estate is located in Caracas, Venezuela.

          3.      On information and belief, Ms. Díaz is domiciled in Florida and directs and controls

   the activities of Sucesión Simon Diaz Marquez from within this District.

                                    JURISDICTION AND VENUE

          4.      This is an action for trademark infringement and unfair competition pursuant to the

   Lanham Act (15 U.S.C. § 1125, et seq.) and the common law of the State of Florida.

          5.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338

   because this action involves substantial claims arising under the Lanham Act. This Court has

   jurisdiction over MFF’s related common law claims pursuant to 28 U.S.C. §§ 1338 and 1367.

          6.      This Court has personal jurisdiction over SSDM because, on information and

   belief, SSDM has distributed, offered for sale, and/or sold infringing good under MFF’s trademark

   within this State (and specifically within this District), has engaged in acts or omissions within this

   State causing injury, has manufactured or distributed products used or consumed within this State

   in the ordinary course of trade, or has otherwise made contacts with this State sufficient to permit

   the exercise of personal jurisdiction. Moreover, the Estate instituted this action against MFF.

          7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

   part of the acts or omissions giving rise to Olaplex’s claims occurred in this District.

                                      FACTUAL ALLEGATIONS

   MFF and the TIO SIMON Trademark

          8.      Since at least as early as September 2016, MFF has offered a variety of Latin food

   products under its TIO SIMON (translated as “Uncle Simon”) trademark (“MFF’s Mark”) in the




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   United States.

          9.        MFF operates the website located at <tiosimonfoods.com> in connection with

   Applicant’s Mark, as displayed below:




          10.       MFF has spent a considerable amount of resources, time, and effort marketing and

   promoting MFF’s Mark. As a result of its extensive use, MFF has built up significant recognition

   and goodwill in the trademark, which is a symbol of MFF’s quality, reputation and goodwill, and

   serves as an instant source identifier for MFF.

          11.       MFF’s products are sold and distributed through a curated network of grocery

   stores and retail outlets, including Winn Dixie, Fresco y Mas, Milam's Market, Locatel, Bravo

   Market, Price Choice, Moises Bakery, EL Bodegon Supermarket, Latinos Meat Market, and

   Latinos Supermarket.

          12.       MFF owns the entire right, title and interest in and to Applicant’s Mark, and has

   filed U.S. Application Serial No. 97/030,729 for TIO SIMON with the United States Patent and

   Trademark Office (“USPTO”) in connection with “Ready-to-eat meals comprised primarily of


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   meats, cheese and also including Latin and Venezuelan food, namely, cheese tequenos, nata, milk

   cream, cachapas, sweet corn-based foods, bollitos, empanadas, cachitos, and pandebono,” in

   International Class 29, and “Sauces; Bakery desserts; Sauces, namely, green sauce, guasacaca

   sauce, pink sauce and garlic and cilantro sauce,” in International Class 30 (“MFF’s Application”).

   A true and correct copy of MFF’s Application is attached hereto as Exhibit A.

   SSDM and the Infringing TIO SIMON and CAFÉ TIO SIMON Trademarks

          13.     According to the electronic records of the USPTO, the Estate is the record owner

   of U.S. Application Serial No. 97/296,359 (the “Estate’s First Application”) for the mark TIO

   SIMON (“Estate’s TS Mark”).

          14.     The Estate filed the Estate’s Application for the Estate’s Mark on March 7, 2022

   under Section 44(d), claiming a priority date of February 3, 2022, in connection with “Meat, fish,

   poultry and game meat; meat extracts; preserved, frozen, dried and cooked fruits and vegetables,

   vegetables and legumes; jellies, jams, compotes; eggs; milk, cheeses, butter, yogurt, cheeses oils

   and fats for food use; ready-to-eat meals consisting mainly of meats and cheese; cream, milk

   cream, cream cheese, spreadable cheese, cassava chips, yuca sticks, frozen cassava, processed

   plantains, tostones, frozen tostones; guacamole,” in International Class 29; “Coffee, tea, cocoa and

   their substitutes; rice, pasta and noodles; tapioca and sago; flour preparations; processed cereal-

   based preparations to be used as breakfast food, snack food or ingredient for making other foods;

   bread, pastry and confectionery made of sugar; chocolate; soft ice creams, sorbets and other ice

   creams; sugar, honey, molasses syrup; yeast, baking powders; salt, seasonings, spices, preserved

   herbs; vinegar, sauces, green sauce, guasacaca sauce, pink sauce, garlic sauce, coriander sauce;

   ice; bakery desserts; black cake, corn-based sweet snack foods, breaded cheesesticks, namely

   tequenos, cheese tequenos, and sweetcorn tequenos, corn pancakes, namely, cachapas, buns,




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   empanadas, arepas, Venezuelan tamales, namely, hallacas, Venezuelan bread, namely, cachitos,

   pandebono bread and pandebono bread containing ham, corn-based tortillas, flan, cheese, bakery

   mixes for making flan,” in International Class 30; “Telecommunication services, namely,

   transmission of voice, data, graphics, images, audio and video by means of telecommunications

   networks, wireless communication networks, and the Internet,” in International Class 38; and

   “Educational services, namely, conducting classes, seminars, conferences, and workshops in the

   field of professional development, culture, history, music, and culinary arts; training services in

   the field of professional development, culture, history, music, and culinary arts; entertainment

   services in the nature of live musical performances; entertainment services, namely, providing

   information about a recording artist via an online network; entertainment services, namely,

   providing non-downloadable prerecorded music via a website; organization of sports

   competitions; entertainment services, namely, organization of cultural activities,” in International

   Class 41. A true and correct copy of the Estate’s First Application is attached hereto as Exhibit B.

          15.     On or about June 12, 2023, Ms. Diaz announced a new business venture between

   SSDM and third-party Cafeteros 1730 group to release a new coffee product under the mark CAFÉ

   TIO SIMON (“Estate’s CTS Mark”). A true and correct copy of the news article from Spanish

   language website El Estímulo located at https://elestimulo.com/bienmesabe/lanzamientos/2023-

   06-12/cafe-tio-simon-que-tiene-que-ver-simon-diaz-con-un-cafe/, along with a certified English

   translation, is attached hereto as Composite Exhibit C.

          16.     In the news release attached as Exhibit C, Ms. Diaz conceded publicly that the name

   TIO SIMON was not previously used by her deceased father Simon Diaz Marquez as “a

   commercial brand” and that this partnership with Cafeteros 1730 group was the “first time” SSDM

   “presented Tio Simon as a commercial brand:”




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   Id.

          17.     On or about August 29, 2022, the Estate filed U.S. Application Serial No.

   97/568,611 with the USPTO (the “Estate’s Second Application”) under Section 44(d), claiming a

   priority date of August 23, 2022, for the Estate’s CTS Mark in connection with “Coffee and

   substitutes therefor; ground coffee, coffee beans; unroasted coffee, coffee-based beverages;

   prepared espresso and espresso-based beverages; coffee beverages with milk; coffee capsules,

   filled; beverages with coffee, namely, beverages made of coffee; chocolate covered coffee beans,

   coffee flavorings, namely, flavorings for beverages other than essential oils,” in International Class

   30. A true and correct copy of the Estate’s Second Application is attached hereto as Exhibit D.

          18.     On information and belief, neither SSDM nor the deceased Mr. Marquez previously

   filed trademark applications in the U.S. or Venezuela for the mark TIO SIMON during Mr.

   Marquez’s lifetime.

          19.     Under Venezuela’s Industrial Property Act of 1955, trademark rights are acquired

   in Venezuela, where the Estate is located and also the location asserted under Section 44(d) for the




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   Estate’s two pending U.S. trademark applications, by registration of the mark with the Patent and

   Trademark Office. See 3 Trademarks Throughout the World, § 174:19; see also Id., 174:31 (“The

   owner of a trademark that has not been registered does not have standing to bring a civil action in

   court based on the statutory prohibition of infringement. Standing to sue on such grounds exists

   only where the infringed mark is registered.”).

          20.     Likewise, on information and belief, Venezuela does not recognize post-mortem

   publicity rights, including name, image and likeness.

          21.     By offering for sale competitive food and beverage products in the U.S. under

   marks identical to MFF’s Mark, SSDM is likely to deceive, confuse and mislead purchasers and

   prospective purchasers into believing that these unlicensed and unauthorized products are

   authorized by MFF. Such actions are causing irreparable harm to MFF and the public by creating

   consumer confusion.

          22.     Upon information and belief, at all relevant times, Ms. Diaz, who has been doing

   business in her individual capacity and on behalf of or in concert with the Estate, contributed

   directly to these infringing acts by knowingly allowing and directing the Estate to display, offer

   for sale and sell consumable products under the Estate’s TS and CTS Marks. Upon information

   and belief, Ms. Diaz personally participated in, directed, and/or had the ability and right to

   supervise, direct, and control the infringing activities alleged in this Complaint. Ms. Diaz had an

   obligation and ability to control and stop these infringements, but failed to do so.         Upon

   information and belief, Ms. Diaz has received, and continues to receive, direct financial benefits

   from these acts of infringement. These acts and omissions to act by Ms. Diaz materially contributed

   to and proximately caused the infringement alleged herein.

   The Trademark Opposition Proceeding




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           23.       On November 30, 2022, the Estate filed a Notice of Opposition, styled as Sucesión

   Simon Diaz Marquez v. Miami Fine Foods, LLC, Opposition No. 91282101 (the “Opposition

   Proceeding”), alleging, in a single count, "misrepresentation of source, false suggestion of a

   connection, [that MFF is] not the rightful owner of the mark, no use at the time of filing, dilution

   and fraud.”

           24.       After the Trademark Trial and Appeal Board (“TTAB”) dismissed the Notice of

   Opposition, the Estate filed the First Amended Notice of Opposition, which largely mirrors the

   claims asserted by the Estate in this litigation.

           25.       On August 28, 2023, MFF served the Estate with written discovery requests,

   including MFF’s First Request for Admissions.

           26.       Despite MFF’s agreement to extend the response deadline and the Estate’s written

   confirmation as to the extended deadline, the Estate failed to timely serve any response to MFF’s

   First Request for Admissions and, pursuant to Rule 36, Fed.R.Civ.P., the matters are automatically

   deemed admitted.

           27.       As a result, the Estate conceded, among others, the following:

                 •   The Estate does not have any documents in its custody, control or possession that
                     any consumer believes that the Estate was the source of any goods or services
                     offered for sale or sold by MFF.

                 •   The Estate’s TS Mark is primarily associated with music.

                 •   MFF’s use of MFF’s Mark has not caused the Estate to lose any sales of services
                     offered under the Estate’s TS Mark.

                 •   The Estate does not have any documents in its custody, control or possession that
                     MFF’s use of MFF’s Mark has caused the Estate to lose any sales of services
                     offered under the Estate’s TS Mark.

                 •   MFF’s use of MFF’s Mark has not caused the Estate to suffer any injury.




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                •   The Estate does not have any documents in its custody, control or possession that
                    MFF’s use of MFF’s Mark has caused the Estate to suffer any injury.

                •   The Estate is aware of third-party use of the term TIO in connection with food
                    products.

                •   The Estate is aware of third-party use of the term SIMON in connection with food
                    products.

                •   The Estate has no evidence of incidents of actual confusion between the Estate
                    and MFF.

   A true and correct copy of MFF’s First Request for Admissions, as admitted by the Estate, is

   attached hereto as Exhibit E.

          28.       The Estate sought, and the Board recently granted, a suspension of the Opposition

   Proceeding on the basis of this lawsuit. Separately, MFF sought summary judgment on the basis

   that the Estate admitted, inter alia, it lacks standing in the Opposition Proceeding and further lacks

   priority in the U.S. to the TIO SIMON trademark. The Board subsequently held the Motion for

   Summary Judgment in abeyance for the duration of the suspension.

                                         FIRST CLAIM FOR RELIEF
                                         (Federal Unfair Competition)

          29.       MFF repeats and incorporates Paragraphs 1 through 28 inclusive as if set forth

   verbatim herein.

          30.       MFF’s Mark is inherently distinctive, has achieved a high degree of consumer

   recognition with MFF’s customers, and serves to identify MFF as the source of high-quality goods

   to which the MFF Mark is affixed.

          31.       SSDM’s promotion, advertising, distribution, marketing, sale, and/or offering for

   sale of the competitive consumable products is likely to confuse, mislead, or deceive consumers,

   the public, and the trade as to the origin, source, sponsorship, or affiliation of such products, and

   is intended, and is likely, to cause such parties to believe, in error, that SSDM’s goods have been


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   authorized, sponsored, approved, endorsed or licensed by MFF, or that SSDM is in some way

   affiliated with MFF, which it is not.

          32.     SSDM’s use of marks identical or confusingly similar to MFF’s Mark is without

   MFF’s permission or authority and is in total and willful disregard of MFF’s U.S. rights to control

   MFF’s Mark.

          33.     SSDM’s acts have damaged and will continue to damage MFF and MFF has no

   adequate remedy at law.

          34.     Upon information and belief, the Estate’s acts were done with full knowledge of

   Diaz, who directed and controlled such acts.

          35.     In light of the foregoing, MFF is entitled to injunctive relief prohibiting SSDM

   from using MFF’s Mark, or any marks confusingly similar thereto, and to recover all damages,

   including attorneys’ fees, that MFF has sustained and will sustain, and all gains, profits and

   advantages obtained by SSDM as a result of the infringing acts alleged above in an amount not yet

   known, as well as the costs of this action.

                              SECOND CLAIM FOR RELIEF
                (Common Law Trademark Infringement and Unfair Competition)

          36.     MFF repeats and incorporates Paragraphs 1 through 28 inclusive as if set forth

   verbatim herein.

          37.     SSDM’s constitute common law trademark infringement and unfair competition,

   and have created and will continue to create a likelihood of confusion to the irreparable injury of

   MFF unless restrained by this Court. MFF has no adequate remedy at law for this injury.

          38.     On information and belief, SSDM acted with full knowledge of MFF’s use of and

   statutory and common law rights to the MFF Mark, and without regard to the likelihood of

   confusion of the public created by SSDM’s activities.



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          39.     SSDM’s actions demonstrate an intentional, willful and malicious intent to trade on

   the goodwill associated with the MFF Mark to the great and irreparable injury of MFF.

          40.     Upon information and belief, the Estate’s acts were done with full knowledge of

   Diaz, who directed and controlled such acts.

          41.     The foregoing acts of SSDM is causing irreparable injury to MFF and to its

   goodwill and reputation, and will continue to both damage MFF and deceive the public unless

   enjoined by this Court. MFF has no adequate remedy at law, injunctive relief is warranted

   considering the hardships between MFF and SSDM, and the public interest would be served by

   enjoining SSDM’s unlawful activities.

                                       PRAYER FOR RELIEF
      WHEREFORE, MFF prays that:

      1. SSDM and its respective agents, officers, employees, representatives, successors, assigns,

   attorneys, and all other persons acting for, with, by, through, and/or under authority from SSDM, or

   in concert or participation with SSDM, be enjoined preliminarily and permanently by this Court, from:

          a.      using any trademark, service mark, name, logo, design and/or source designation of

   any kind on or in connection with SSDM’s goods or services that is likely to cause confusion, mistake,

   deception, or public misunderstanding that such goods or services are sponsored or authorized by

   MFF; and

          b.      passing off, palming off, or assisting in the passing off or palming off of SSDM’s goods

   as those of MFF, or otherwise continuing any and all acts of unfair competition as alleged in this

   Complaint.

      2. SSDM be ordered to recall all products bearing the MFF Mark or any other indicia confusingly

   or substantially similar thereof, which have been shipped by SSDM or under its authority, to any

   customer, including, but not limited to, any wholesaler, distributor, retailer, consignor, or marketer,


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   and also to deliver to each customer a copy of this Court's order as it relates to said injunctive relief

   against SSDM;

      3. SSDM be ordered to deliver for impoundment and destruction all merchandise, bags, boxes,

   labels, tags, signs, packages, receptacles, advertising, sample books, promotional materials, stationery

   and/or other materials in the possession, custody, or under the control of SSDM which are found to

   adopt or infringe the MFF Mark, or which otherwise unfairly compete with MFF and its products;

      4. SSDM be ordered to file with this Court and serve upon MFF, within thirty (30) days of the

   entry of the injunction prayed for herein, a report in writing under oath and setting forth in detail the

   form and manner in which SSDM has complied with said permanent injunction, pursuant to 15 U.S.C.

   1116(a);

      5. SSDM be compelled to account to MFF for any and all sales and profits derived by SSDM

   from the sale or distribution of the consumable products described in this Complaint;

      6. SSDM be ordered to disclose the supplier(s) of the consumable products described herein and

   provide all documents, correspondence, receipts, and/or invoices associated with the purchase of said

   products;

      7. MFF be awarded all damages caused by the acts forming the basis of this Complaint;

      8. Based on SSDM’s knowing and intentional use of identical and/or confusingly similar

   imitations of the MFF Mark, the damages award be trebled and the award of SSDM’s profits be

   enhanced as provided for by 15 U.S.C. § 1117(a);

      9. SSDM be required to pay to MFF the costs of this action and MFF’s reasonable attorneys' fees,

   pursuant to 15 U.S.C. § 1117(a) and the state statutes cited in this Complaint;

      10. Based on SSDM’s willful and deliberate infringement of the MFF Mark, and to deter such

   conduct in the future, MFF be awarded punitive damages;




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      11. SSDM be required to pay prejudgment interest on all damages and profits awards; and

      12. MFF has such other and further relief as this Court may deem just and equitable.



   Date: November 22, 2023                     Respectfully submitted,

                                               FRIEDLAND VINING

                                               _/s/ Jaime Rich Vining_________________
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                                                       and Avi Assor




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on the above referenced date, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this day on all counsel of record or pro se parties identified on the attached Service
   List in the Manner specified, either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
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